       Case 4:22-cv-01371 Document 1 Filed on 04/28/22 in TXSD Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

DANIEL MIRANDA,                                       §
                                                      §
        Plaintiff,                                    §
                                                      §
                                                      §      CIVIL ACTION NO. _____________
V.                                                    §             JURY
                                                      §
ROSS DRESS FOR LESS, INC.                             §
                                                      §
        Defendant.                                    §

                                     NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Defendant Ross Dress for Less, Inc. (“Ross”) hereby files this Notice of Removal

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, removing the above-captioned case to the United

States District Court for the Southern District of Texas, Houston Division. The grounds for

removal are as follows:

                                           I. Introduction

        1.      Plaintiff Daniel Miranda (“Plaintiff”), at the time this action was commenced,

was, and still is, a resident and citizen of Texas.

        2.      Ross, at the time this action was commenced, was, and still is, a corporation

formed under the laws of California and headquartered in California.

        3.      Plaintiff claims that on or about July 7, 2020, was at the Ross store located at

8066 S. Gessner, Houston, Harris County, Texas 77036 when Plaintiff claims an employee who

had shopping carts in his hand, hit Plaintiff with the bar handle of a shopping cart on his lower

back while he was fixing the baskets in the store, causing Plaintiff to fall backwards. Plaintiff’s
      Case 4:22-cv-01371 Document 1 Filed on 04/28/22 in TXSD Page 2 of 5




Original Petition at pp. 2-3. Plaintiff contends that he has sustained serious personal injuries for

which he had to seek the care of medical professionals. Id.

       4.         On or about April 1, 2022, Plaintiff commenced a lawsuit in the 113th Judicial

District Court of Harris County, Texas, Cause No. 2022-19885, styled Daniel Miranda v Ross

Dress for Less, Inc. at p. 1. Plaintiff requested a citation for service of process on or about April

6, 2022. Defendant was served on or about April 8, 2022.

       5.         Plaintiff avers, inter alia, that Ross was negligent in failing to maintain its

premises, among other things. Id. at p. 6-7. Consequently, Plaintiff seeks to recover damages for

negligence. Id.

                                     II. Grounds for Removal

A.     Complete Diversity of Citizenship Exists Between the Parties and the Amount in
       Controversy Exceeds $75,000.00.

       6.         Plaintiff is a citizen and resident of Texas. Ross is a citizen and a resident of

California. Thus, the parties are completely diverse. See 28 U.S.C. § 1332(a).

       7.         Plaintiff is seeking damages in excess of $75,000.00. In particular, Plaintiff’s

petition seeks “monetary relief over $1,000,000.00”. See Plaintiff’s Original Petition at p. 10.

Therefore, the amount in controversy exceeds $75,000.00.

B.     Venue is Proper in This Division and in This District.

       8.         Plaintiff filed this action in Harris County, Texas. The Houston Division of the

Southern District of Texas encompasses Harris County, Texas. Thus, this district and division

embrace the place where the state court action is pending. See 28 U.S.C. §1441(a).




                                                  2
       Case 4:22-cv-01371 Document 1 Filed on 04/28/22 in TXSD Page 3 of 5




                         III. Procedural Requirements for Removal

       9.      This Notice of Removal is filed within thirty days of the date on which Defendant

received the summons and complaint. Thus, this Notice of Removal is timely. See 28 U.S.C. §

1446(b).

       10. Copies of all processes, pleadings, and orders have been filed separately with this

Court. See 28 U.S.C. § 1446(a).

       11.     Pursuant to Local Rule 81 of the Southern District of Texas, the following

documents are attached to this Notice of Removal: copy of all processes, attached hereto as

Exhibit “A”; all pleadings and orders signed by the Judge attached hereto as Exhibit “B”; an

Index of Matters Being Filed, attached hereto as Exhibit “C”; and a list of all Counsel of Record,

including addresses, telephone numbers and parties represented is attached hereto as Exhibit

“D”.

       12.     A copy of this Notice of Removal will be filed with the Harris County District

Clerk’s office promptly and will be served on Plaintiff promptly. See 28 U.S.C. § 1446(d); see

also Nixon v. Wheatley, 368 F. Supp. 2d 635, 640 (E.D. Tex. 2005) (Crone, J).

       13.     The filing fee has been paid to the Clerk.

       14.     Defendant hereby requests a trial by jury.

                                           IV. Prayer

       15.     WHEREFORE, PREMISES CONSIDERED, Defendant Ross prays that the

above-styled action now pending in the 113th Judicial District Court of Harris County, Texas be

removed there from to this Honorable Court.




                                                 3
      Case 4:22-cv-01371 Document 1 Filed on 04/28/22 in TXSD Page 4 of 5




       16.    This Notice of Removal is filed subject to and without waiver of any defenses or

objections to Plaintiff’s Original Petition as allowed by the Federal Rules of Civil Procedure or

by any applicable law.

                                            Respectfully submitted,

                                            GERMER PLLC

                                            By: __/s/ Troy A. Williams
                                                   Troy A. Williams
                                                   State Bar No. 00788678
                                                   Federal I.D. No. 19043
                                                   America Tower
                                                   2929 Allen Parkway, Suite 2900
                                                   Houston, Texas 77019
                                                   Telephone: (713) 650-1313
                                                   Facsimile: (713) 739-7420
                                                   Email: twilliams@germer.com

                                            LEAD ATTORNEY FOR DEFENDANT ROSS
                                            DRESS FOR LESS, INC.

OF COUNSEL:
Serena D. Harmon
State Bar No. 00785943
Federal I.D. No. 18037
America Tower
2929 Allen Parkway, Suite 2900
Houston, Texas 77019
Telephone: (713) 650-1313
Facsimile: (713) 739-7420
Email: sharmon@germer.com




                                               4
      Case 4:22-cv-01371 Document 1 Filed on 04/28/22 in TXSD Page 5 of 5




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been duly
sent via CM/ECF on April 28, 2022 to all counsel of record, as follows:

litigation@thehadilawfirm.com
Husein Hadi
Jamil Thomas
Ariana Medhipour
Anita Mehdipour
The Hadi Law Firm PLLC
7100 Regency Square Boulevard
Suite 140
Houston, Texas 77036

                                                   /s/ Troy A. Williams
                                                   Troy A. Williams




                                              5
